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14                                   UNITED STATES DISTRICT COURT
15                                  NORTHERN DISTRICT OF CALIFORNIA
16
17 SHIRIN DELALAT, on behalf of herself, all                Case No.    4:16-cv-00711 HSG
     others similarly situated, and the general public,
18                                                          DECLARATION OF L. LISA SANDOVAL IN
                       Plaintiff,                           SUPPORT OF MOTION TO STRIKE
19                                                          DECLARATIONS OF J. MICHAEL DENNIS
                       vs.                                  (DKT 102-02, Ex. 2) AND COLIN B. WEIR
20                                                          (DKT. 102-02, Ex. 3)
     NUTIVA, INC.,
21
                       Defendant.                           Date:       February 22, 2018
22                                                          Time:       2:00 p.m.
                                                            Place:      Courtroom 2, 4th Floor
23
24                                                          Complaint Filed:      January 8, 2016
                                                            Trial Date:           None Set
25
26
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28
     NUT04-02:2075776_1:12-1-17                        -1-                            Case No. 4:16-cv-00711 HSG
            DECLARATION OF L. LISA SANDOVAL IN SUPPORT OF MOTION TO STRIKE DECLARATIONS OF J.
                   MICHAEL DENNIS (DKT 102-02, Ex. 2) AND COLIN B. WEIR (DKT. 102-02, Ex. 3)
           Case 4:16-cv-00711-HSG Document 129-1 Filed 12/01/17 Page 2 of 3



 1            I, L. Lisa Sandoval, declare as follows:
 2            1.       I am an attorney with Call & Jensen, APC. I make this Declaration based on my own
 3 personal knowledge and could competently testify to the facts stated herein if called to do so.
 4            2.       Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the Deposition of
 5 Colin Weir, taken in this action on August 23, 2017.
 6            3.       Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the Deposition of
 7 J. Michael Dennis, taken in this action on August 29, 2017.
 8            4.       Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the Deposition of
 9 Plaintiff Shirin Delalat, taken in this action on October 2, 2017.
10
11            I declare under penalty of perjury under the laws of the United States of America that the
12 foregoing is true and correct. This declaration was executed on December 1, 2017, at Newport Beach,
13 California.
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                                                     L. Lisa Sandoval
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     NUT04-02:2075776_1:12-1-17                      -2-                            Case No. 4:16-cv-00711 HSG
          DECLARATION OF L. LISA SANDOVAL IN SUPPORT OF MOTION TO STRIKE DECLARATIONS OF J.
                 MICHAEL DENNIS (DKT 102-02, Ex. 2) AND COLIN B. WEIR (DKT. 102-02, Ex. 3)
           Case 4:16-cv-00711-HSG Document 129-1 Filed 12/01/17 Page 3 of 3



1                                       CERTIFICATE OF SERVICE
2             I hereby certify that on December 1, 2017, I electronically filed the foregoing document
3 described as DECLARATION OF WILLIAM P. COLE IN SUPPORT OF DEFENDANT
4 NUTIVA, INC.’S MOTION TO STRIKE DECLARATIONS OF J. MICHAEL DENNIS (DKT
5 102-02, Ex. 2) AND COLIN B. WEIR (DKT. 102-02, Ex. 3) with the Clerk of the Court using the
6 CM/ECF System which will send notification of such filing via electronic mail to all counsel of
7 record.
8
                                                  /s/ William P. Cole
9                                                 William P. Cole
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     NUT04-02:2075776_1:12-1-17                      -3-                            Case No. 4:16-cv-00711 HSG
          DECLARATION OF L. LISA SANDOVAL IN SUPPORT OF MOTION TO STRIKE DECLARATIONS OF J.
                 MICHAEL DENNIS (DKT 102-02, Ex. 2) AND COLIN B. WEIR (DKT. 102-02, Ex. 3)
